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 1   McGREGOR W. SCOTT
     United States Attorney
 2   MELANIE L. ALSWORTH
     KIMBERLY A. SANCHEZ
 3   Assistant United States Attorneys
     2500 Tulare Street, Suite 4401
 4   Fresno, CA 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099

 6   Attorneys for Plaintiff
     United States of America
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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           No. 1:16-CR-00122-DAD-BAM

12                        Plaintiff,

13            v.                                          FINAL ORDER OF FORFEITURE

14    GABRIEL ESPARZA,

15                        Defendant.

16

17           WHEREAS, on September 27, 2018, this Court entered a Preliminary Order of Forfeiture

18   pursuant to the provisions of 21 U.S.C. § 853(a) based upon the plea agreement entered into

19   between plaintiff and defendant Gabriel Esparza forfeiting to the United States the following

20   property:

21                   a. Colt 1911 45 caliber pistol, serial number 268968, and

22                   b. Any and all ammunition seized in this case.

23           AND WHEREAS, beginning on November 20, 2018, for at least 30 consecutive days, the

24   United States published notice of the Court’s Order of Forfeiture on the official internet

25   government forfeiture site www.forfeiture.gov. Said published notice advised all third parties of

26   their right to petition the Court within sixty (60) days from the first day of publication of the

27   notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited

28   property;
                                                          1
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 1          AND WHEREAS, this Court has been advised that no third party has filed a claim to the

 2   subject property and the time for any person or entity to file a claim has expired.

 3          Accordingly, it is hereby ORDERED and ADJUDGED:

 4          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of

 5   America all right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853(a), to

 6   be disposed of according to law, including all right, title, and interest of Gabriel Esparza.

 7          2.      All right, title, and interest in the above-listed assets shall vest solely in the name

 8   of the United States of America.

 9          3.      The Bureau of Alcohol, Tobacco, Firearms and Explosives shall maintain

10   custody of and control over the subject property until it is disposed of according to law.

11   IT IS SO ORDERED.
12
        Dated:     June 18, 2019
13                                                       UNITED STATES DISTRICT JUDGE

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